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10

11   (Additional counsel listed on signature page)

12                               UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                       OAKLAND DIVISION

15

16                                                   Case No. 4:19-cv-00717-JST
     IN RE CALIFORNIA BAIL BOND
17   ANTITRUST LITIGATION                            CLASS ACTION

18                                                   DECLARATION OF DEAN M. HARVEY
     This Document Relates To:                       IN SUPPORT OF PLAINTIFFS’
19                                                   OPPOSITION TO CERTAIN
                                                     DEFENDANTS’ MOTION TO DISMISS
20   ALL ACTIONS                                     THE THIRD CONSOLIDATED
                                                     AMENDED COMPLAINT
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                                                            DECLARATION OF DEAN M. HARVEY IN SUPPORT OF
     2434754.1                                                             PLAINTIFFS’ OPPOSITION TO MTD
                                                                                CASE NO. 4:19-CV-00717-JST
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 1               I, Dean M. Harvey, declare as follows:

 2               1.     I am a partner of the law firm Lieff Cabraser Heimann & Bernstein, LLP, which

 3   has been appointed Interim Class Counsel in the above-captioned proceeding. I am a member of

 4   the State Bar of California. I have personal knowledge of the facts herein and, if called upon to

 5   testify to those facts, I could and would do so competently.

 6               2.     Attached hereto as Exhibit A is a comparison of Plaintiffs’ Second Consolidated

 7   Amended Complaint (“SCAC”), ECF No. 94, with Plaintiffs Third Consolidated Amended

 8   Complaint (“TCAC”), ECF No. 281-1.

 9               3.     After months of meeting and conferring and motion practice, Defendants produced

10   documents from a small set of custodians (most Defendants searched the files of only two

11   employees), only documents that hit on Plaintiffs’ first (and only) set of search terms, and only

12   documents that each Defendant deemed responsive to five of the 40 RFPs Plaintiffs served on

13   August 12, 2020.

14               4.     Meaningful document production did not begin until September 2021, and

15   continued in fits and starts, including thousands of documents that were produced on April 5,

16   2022, only six days before Plaintiffs filed the TCAC.

17               5.     The documents Defendants produced are those that: hit on Plaintiffs’ first and only

18   set of search terms (which Plaintiffs crafted without the benefit of having reviewed any

19   documents produced, and that were narrowed in the course of months of meeting and conferring

20   with Defendants); were preserved in an electronic format capable of being searched with

21   keywords; are from certain electronic files of a small set of custodians, often only two per

22   Defendant; passed through Defendants’ subjective responsiveness review regarding five of 40

23   RFPs; and were not otherwise withheld.

24               6.     No discovery other than limited document production has occurred. From the

25   beginning of Plaintiffs’ meet and confers with Defendants, Plaintiffs sought an opportunity to

26   take depositions before filing the TCAC. Defendants steadfastly refused, and made clear that

27   depositions would not occur without additional motion practice and a Court order.

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                                                                    DECLARATION OF DEAN M. HARVEY IN SUPPORT OF
     2434754.1                                            -1-                      PLAINTIFFS’ OPPOSITION TO MTD
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 1               7.    The TCAC references bail bond pricing information that Defendants exchanged

 2   through the Surety and Fidelity Association of America (“SFAA”) and its Bail Bond Advisory

 3   Committee. The SFAA produced these documents to Plaintiffs pursuant to subpoena. Moving

 4   Defendants filed an example of these documents at ECF No. 285-8. Like other similar documents

 5   SFAA produced, the example Moving Defendants filed states “CONFIDENTIAL” on pages

 6   disclosing Defendant pricing data. ECF No. 286-8 at 3, 4, and 5. SFAA also produced these

 7   documents with a confidentiality designation, under the terms of the Protective Order. Pursuant

 8   to the Protective Order, Plaintiffs initially filed portions of the TCAC under seal, including

 9   portions disclosing information regarding these “CONFIDENTIAL” pricing summaries. ECF

10   Nos. 269 and 270.

11               8.    Pursuant to Civil Local Rule 7905(f)(3), the designating party (here, SFAA)

12   needed to file a responsive statement and/or declaration to maintain that information under seal.

13               9.    On April 11, 2022, Plaintiffs’ counsel provided a redacted copy of the TCAC to

14   SFAA’s counsel, along with those portions that were tentatively filed under seal. Plaintiffs’

15   counsel explained that, if SFAA wished to maintain this material under seal, it needed to provide

16   the basis for that request to the Court.

17               10.   On April 20, 2022, the Court provided SFAA and other designating parties an

18   additional seven days to file the required documents. ECF. No. 274.

19               11.   On April 26, 2022, SFAA’s counsel informed Plaintiffs’ counsel that, while it

20   would not object to unsealing the relevant portions of the TCAC, the documents themselves

21   “shall remain confidential and shall not be disclosed as required under SFAA’s condition for

22   production.”

23               12.   On April 28, 2022, Plaintiffs’ counsel asked SFAA’s counsel to explain the basis

24   for its instructions that the underlying documents “remain confidential and shall not be

25   disclosed,” in light of SFAA counsel’s representation that it contained only publicly available

26   information. SFAA’s counsel did not respond.

27               13.   Attached as Exhibit B is Seaview Insurance Company’s 2012 Annual Statement,

28   obtained from the California Department of Insurance.
                                                                 DECLARATION OF DEAN M. HARVEY IN SUPPORT OF
     2434754.1                                        -2-                       PLAINTIFFS’ OPPOSITION TO MTD
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 1               14.    Attached as Exhibit C is Seaview Insurance Company’s September 30, 2012

 2   Quarterly Statement, obtained from the California Department of Insurance.

 3               15.    Attached as Exhibit D is Seaview Insurance Company’s Dec. 31, 2019

 4   Management Discussion and Analysis, obtained from the California Department of Insurance.

 5               16.    Attached as Exhibit E is Seaview Insurance Company’s 2019 Annual Statement,

 6   obtained from the California Department of Insurance.

 7               17.    I declare under penalty of perjury under the laws of the United States that the

 8   foregoing is true and correct.

 9               Executed July 11, 2022 in San Francisco, California.

10                                               /s/ Dean M. Harvey
                                                 Dean M. Harvey
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                                                                   DECLARATION OF DEAN M. HARVEY IN SUPPORT OF
     2434754.1                                          -3-                       PLAINTIFFS’ OPPOSITION TO MTD
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